                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                      AT KNOXVILLE

 UNITED STATES OF AMERICA,                            )
                                                      )
                        Plaintiff,                    )
                                                      )          No. 3:14-CR-85
 v.                                                   )
                                                      )
 ROBERT N. HICKS,                                     )          (PHILLIPS / SHIRLEY)
                                                      )
                        Defendant.                    )
                                                      )

                                     MEMORANDUM AND ORDER

                All pretrial motions in this case have been referred to the undersigned pursuant to

 28 U.S.C. § 636(b) for disposition or report and recommendation regarding disposition by the

 District Court as may be appropriate. This matter came before the Court on June 30, 2015, for a

 telephone conference on the Defendant’s Motion to Continue Trial Assignment [Doc. 524], filed

 on June 11, 2015. Assistant United States Attorney Caryn L. Hebets appeared on behalf of the

 Government. Attorney James W. Clements, III, represented the Defendant Robert Hicks.

                Defendant Hicks asks to continue the July 7, 2015 trial of this case to permit time

 for him to undergo mental evaluation and treatment. By way of background, the Court observes

 that on October 24, 2014, the undersigned found [Doc. 279] Defendant Hicks to be incompetent

 to stand trial. At that time, the Court committed the Defendant to the custody of the Attorney

 General for up to four months of treatment at an appropriate federal medical facility in order to

 determine whether there exists a substantial probability that the defendant will attain the capacity

 to permit the trial to take place in the foreseeable future. 18 U.S.C. § 4241(d)(1). Defendant

 Hicks was admitted to the Federal Medical Center in Butner, North Carolina (FMC Butner), on

 December 23, 2014.       Drs. Robert E. Cochrane, forensic psychologist, and Bryon Herbel,


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 psychiatrist, submitted a Forensic Evaluation stating that the Defendant had refused treatment

 with antipsychotic medicine. On April 3, 2014, the Court ordered [Doc. 466] that the Defendant

 continue to be committed to FMC Butner for an additional four-month period of evaluation and

 treatment.

                The Government moved [Doc. 492] for the Defendant’s involuntary medication.

 The Court held an evidentiary hearing on May 11 and heard the testimony of Dr. Cochran by

 video teleconference. On May 28, 2015, the Court ordered [Doc. 514] that the Defendant be

 involuntarily medicated, if he did not voluntarily elect to take necessary psychotropic medication

 within one week of receipt of the Court’s Order. The Defendant’s motion states that he refused

 to take oral medication but accepted the initial injection of medication on June 10, 2015, without

 incident.    During the June 30 telephone conference, defense counsel stated that he had

 corresponded with Dr. Cochran, who reported that the Defendant had received two injections of

 Respiradol to date and that he expected the Defendant to make additional progress toward

 regaining his competency as he progressed toward a therapeutic level of the medication. He

 stated that the Defendant continued to refuse to speak with the staff at FMC Butner but was calm

 in demeanor and had no obvious side effects from the medication. The Government confirmed

 that Defendant Hicks is the sole defendant still proceeding to trial in this case. Counsel for both

 parties agreed that the July 7 trial date in this case should be removed and should be reset if and

 when the Court finds the Defendant to be competent to stand trial.

                The Court finds a trial continuance to be necessary and that the ends of justice

 served by rescheduling the trial outweigh the interest of the Defendant and the public in a speedy

 trial. 18 U.S.C. § 3161(h)(7)(A). The Court has found the Defendant to be incompetent. See 18

 U.S.C. § 3161(h)(4) (excluding “[a]ny period of delay resulting from the fact that the Defendant



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 is mentally incompetent”). At this time, the Defendant is still undergoing mental evaluation and

 treatment, to include involuntary medication, to determine whether his competency can be

 restored. Because the matter of and the timeframe for the Defendant’s competency restoration is

 uncertain, the Court finds that it is not able to reschedule the Defendant’s trial at this time. Thus,

 the July 7, 2015 trial date is removed, and the Court will set a new trial date if and when the

 issue of the Defendant’s competency is resolved. With regard to other scheduling in this case,

 the parties are to appear before the undersigned by telephone conference on July 27, 2015, at

 1:30 p.m. At that time, Mr. Clement will provide the Court with an update on the Defendant’s

 progress at FMC Butner.

                Accordingly, it is ORDERED:

                (1) The Defendant’s Motion to Continue Trial Assignment [Doc.
                    524] is GRANTED;

                (2) The July 7, 2015, trial date is removed and will be reset if and
                    when the Defendant is deemed to be competent to stand trial;
                    and

                (3) Counsel are to appear by telephone for a status conference on
                July 27, 2015, at 1:30 p.m.

                IT IS SO ORDERED.

                                                       ENTER:

                                                       s/ C. Clifford Shirley, Jr.
                                                       United States Magistrate Judge




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